Case: 1:17-cv-06260 Document #: 1137 Filed: 12/14/23 Page 1 of 1 PageID #:24033

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

State of Illinois
                           Plaintiff,
v.                                               Case No.: 1:17−cv−06260
                                                 Honorable Rebecca R. Pallmeyer
City Of Chicago
                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 14, 2023:


       MINUTE entry before the Honorable Rebecca R. Pallmeyer: Status hearing held
via Zoom. Mailed notice. (cp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
